Case 1:19-cv-00039-JPM Document 1-8 Filed 01/14/19 Page 1of1PagelID#: 81
JS-44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

 

I. (a) PLAINTIFFS USSF ICMR ANS sity, Cynthia Bentley, Tiffany Adams, Kathey
Janice Miller and Laura Picard Franken and William Duffy
(b) County of Residence of First Listed Plaintiff Rapides Parish County of Residence of First Listed Defendant _St

   

(EXCEPT IN U.S. PLAINTIFF C- (IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

rm Name ress Tele . ’, Attorneys (Known,
(c) Attorneys (Firm Name, Address, and Telephone Number) Elie MN! ong Andrew J. Baer, Deutsch Kerrigan, LP, 755
Deirdra Fuller, Fuller Law Firm, 602 Murray St., Alexandria LA 71301 - Magazine Street, N.O., LA 70130 (504-581-5141)
and - Laura Picard, 242 W. Shamrock, Pineville, LA 71360
Hl. BASIS OF JURISDICTION (Place an “¥" in One Box Onby lil. CITIZENSHIP OF PRINCIPAL PARTIES (ptace an “4 in One Box for Plainajff
(For Diversity Cases Only) and One Box for Defendant)
1 1 U.S. Government 23 Federal Question PTF DEF PTF DEF
Plaintiff (LS. Government Not a Party) Citizen of This State ol O 1. Incorporated or Principal Place gao4d o4
of Business In This State
2) US. Government O 4 Diversity Citizen of Another State Oo 2 GO 2 = Incorporated and Principal Place gas 05
Defendant (indicate Citizenship of Parties in Item HL) of Business In Another State
Citizen or Subject ofa O3 OG 3 Foreign Nation go6 26
Foreign Country
IV. NATURE OF SUIT (lace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY: BANKRUPTCY OTHER STATUTES |
O 110 Insurance PERSONAL INJURY PERSONAL INJURY — | 625 Drug Related Seizure C422 Appeal 28 USC 158 GO 375 False Claims Act
0 120 Marine 0 310 Airplane O =365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
CY 130 Miller Act 0 315 Airplane Product Product Liability 8 690 Other 28 USC 157 372%a))
OF 140 Negotiable Instrument Liability O 367 Health Care/ G 400 State Reapportionment
CF 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights G 430 Banks and Banking
© 151 Medicare Act © 330 Federal Employers’ Product Liability 0 830 Patent O 450 Commerce
07 152 Recovery of Defaulted Liability © 368 Asbestos Personal © 835 Patent - Abbreviated C} 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application |@ 470 Racketeer Influenced and
(Excludes Veterans) C) 345 Marine Product Liability C) 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY: O 480 Consumer Credit
of Veteran’s Benefits OG 350 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) 6 490 Cabie/Sat TV
€ 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Truth in Lending Act C) 862 Black Lung (923) C} 850 Securities/Commodities/
CF 190 Other Contract Product Liability 380 Other Personal C} 720 Labor/Management 863 DIWC/DIWW (405(g)) Exchange
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations OC 864 SSID Title XVI ( 890 Other Statutory Actions
196 Franchise Injury O 385 Property Damage O} 740 Railway Labor Act CJ 865 RSI (405(g)) © 891 Agricultural Acts
O 362 Personal Injury - Product Liability © 751 Family and Medical CF 893 Environmental Matters
Medical Malpractice Leave Act 895 Freedom of Information
[ REAL PROPERTY. CIVIE RIGHTS PRISONER PETITIONS] 790 Other Labor Litigation FEDERAL TAX SUITS Act
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement © 870 Taxes (U.S. Plainuff {} 896 Arbitration
220 Foreclosure G 441 Voting O 463 Alien Detainee Income Security Act or Defendant) G 899 Administrative Procedure
( 230 Rent Lease & Ejectment OK 442 Employment OF 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
C} 240 Torts to Land G 443 Housing/ Sentence 26 USC 7609 Agency Decision
C} 245 Tort Product Liability Accommodations 0 530 General & 950 Constitutionality of
© 290 All Other Real Property O 445 Amer. w/Disabilities -] 1 535 Death Penalty IMMIGRATION State Statutes
Employment Other: ©) 462 Naturalization Application
446 Amer. w/Disabilities - | 540 Mandamus & Other | 465 Other Immigration
Other ©) 550 Civil Rights Actions
© 448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X" in One Box Only)
O11 Original [€%2 Removed from 3  Remanded from 4 Reinstatedor © 5 Transferred from © 6 Multidistrict 1 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):
42 U.S.C. 2000e, et seq.

Brief description of cause:

Race discrimination and retaliation.

VI. CAUSE OF ACTION

 

 

 

 

 

VI. REQUESTED IN Cl CHECK IF THIS IS A CLASS ACTION DEMAND S$ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: {Yes  (CINo
VIIL RELATED CASE(S)
IF ANY See mEO GE DOCKETNUMBER ss s—s—‘s—sS
DATE

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FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
